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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

MISSOURI STATE CONFERENCE OF                    )
THE NATIONAL ASSOCIATION FOR                    )
THE ADVANCEMENT OF COLORED                      )
PEOPLE, et al.,                                 )
                                                )
                       Plaintiffs,              )
                                                )
       v.                                       )       Case No. 4:22-cv-191-MTS
                                                )
WENTZVILLE R-IV SCHOOL                          )
DISTRICT,                                       )
                                                )
                       Defendant.               )
                                                )

                                     JOINT PROPOSED SCHEDULE

       COME NOW, Plaintiffs and Defendant (collectively, “the parties”), by and through their

attorneys, and respectfully submit the following Joint Proposed Scheduling Plan pursuant to this

Court’s Order of May 11, 2022 (ECF No. 41):

            I.   Scheduling Plan:

                 1.    The parties agree that this case is properly assigned to Track 3 (Complex).

                       However, the parties believe that this case could be resolved within

                       timelines more consistent with a Track 2 schedule and have proposed

                       deadlines accordingly.

                 2.    All motions for joinder of additional parties or amendment of the

                       pleadings should be filed no later than July 29, 2022.

                 3.    Discovery shall proceed in the following manner:

                         (a)     The parties agree to produce all electronically stored information

                                 (ESI) in either Portable Document Format (PDF) or the format

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                         maintained (the Native Format). If the party receiving the

                         information does not have the capability to read the ESI in

                         Native Format, the parties agree that the producing party will, if

                         possible, either provide access to software capable of reading

                         such ESI or to produce such ESI in PDF format or another

                         format agreed upon in writing by the parties.

                   (b)   The parties shall make all disclosures required by Fed. R. Civ. P

                         26(a)(1) no later than June 16, 2022.

                   (c)   Discovery need not be conducted in phases or limited to certain

                         issues.

                   (d)   Plaintiffs shall designate all expert witnesses and provide the

                         reports required by Fed. R. Civ. P. 26(a)(2) no later than August

                         5, 2022, and shall make the expert witnesses available for

                         depositions and have the depositions completed no later than

                         September 2, 2022.

                   (e)   Defendant shall designate all expert witnesses and provide the

                         reports required by Fed. R. Civ. P. 26(a)(2) no later than

                         September 2, 2022, and shall make the expert witnesses

                         available for depositions and have the depositions completed no

                         later than October 7, 2022.

                   (f)   Absent good cause shown, the limits of ten (10) depositions per

                         side and twenty-five (25) interrogatories per side should apply in




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                              this case as the parties do not anticipate each side needing more

                              than twenty-five interrogatories.

                     (g)      No physical or mental examinations are anticipated.

                     (h)      The parties shall complete all discovery in this case no later than

                              November 18, 2022.

            4.     The parties believe that referral of this action to mediation would be

                   appropriate after September 9, 2022, to terminate on November 30, 2022.

            5.     Any dispositive motions and motions to exclude testimony pursuant to

                   Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993) or

                   Kuhmo Tire Co. Ltd v. Carmichael, 526 U.S. 137 (1999), must be filed no

                   later than February 24, 2023. The response to any such motion will be

                   due within 21 days of the filing of the motion. The reply to any such

                   response will be due within 10 days of the filing of the response.

      II.   Trial. The parties submit that this case will be ready for trial on or after October

            2, 2023. It is anticipated that the length of time to try the case will be

            approximately 4 days.



                                            Respectfully submitted,

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